
69 So.3d 311 (2011)
SCHOOL BOARD OF ORANGE COUNTY, Appellant,
v.
FLORIDA POWER CORPORATION, Appellee.
No. 5D10-1872.
District Court of Appeal of Florida, Fifth District.
August 5, 2011.
Rehearing and Rehearing En Banc Denied September 13, 2011.
Bernard F. Daley, Jr., of The Daley Law Office, P.A., Tallahassee, for Appellant.
Stephen H. Grimes, Elizabeth L. Bevington and Matthew Mears, of Holland &amp; Knight LLP, Tallahassee, for Appellee.
PER CURIAM.
We find no error and affirm. We specifically reject appellant's contention that the trial court was bound to declare whether the School Board was excluded from the terms of the Apopka city ordinance and that the trial court acted in excess of its jurisdiction in concluding that the terms of the ordinance did not control the billing of the franchise fees to its customers.
AFFIRMED.
GRIFFIN, SAWAYA and COHEN, JJ., concur.
